                                                                                          12853976
                 STATEOFMONTANA                                         Montana Secretary of State
                                                                       Filed:July 25, 2019 01:07 PM
                                                                                      BID:C1126665



Articles ofOrganization
Viking Investments LLC (C1126665)

General Details
Handling Option                               1 Hour Expedite Handling
Delayed Effective Date
Type of Limited Liability Company             Limited LiabilityCompany
Business Entity Name                          Viking Investments LLC

Registered Agent in Montana
Name                                          Candy Lynn Williams
Street Address                                238 N Hilltop Rd, Columbia Fls, Montana,
                                              59912,UnitedStates
Mailing Address                               Same as Street Address
Registered Agent Type                         Non-Commercial
The appointment ofthe registered agent listed above is an afHrmation bythe represented
entity that the agent has consented to serve as a registered agent.
Yes



Business Mailing Address of Principal Office
Postal Address                                PO Box 3223, Columbia Fls, Montana, 59912,
                                              United States

Term                                          Perpetual


Managers/Members
LLC Managed By                                Managers



                                                                                13
                    9:23-ap-09001-BPH Doc#: 35-9 Filed: 11/15/23 Page 1 of 3
                                                                                            12853976



Ind'ividual
Name                                           Candy Lynn Williams
Status                                         Active
Business Mailing Address                       PO Box 3223, Columbia Fls, Montana, 59912,
                                               United States




Signature
I have been authorized bythe business entityto file this document online.
Yes
I, HEREBYSWEARAND/ORAFRRM, under penalty of law, including criminal prosecution, that
the facts contained in this document are true. I certify that I am signing this document as the
person(s) whose signature is required, or as an agent ofthe person(s) whose signature is
required, who has authorized me to place his/her signature on this document.
Yes

Name                                             CandyWilliams
Position                                         Organizer
Date                                             07/25/2019


Daytime Contact
Phone                                            (801)694-5409
Email                                            Vikinginvllc@gmail.com




                  9:23-ap-09001-BPH Doc#: 35-9 Filed: 11/15/23 Page 2 of 3
                          MONTANA SECRETARY OF STATE



Retum Method: Email                                                                     July 25, 2019



   CANDY WILLIAMS
   COLUMBIA FLS MT 59912




                                    CERTIFICATION LETTER

I, COREY STAPLETON, Secretary of State for the State of Montana, do hereby certify that

                                      Viking Investaaents LLC

filed its Articles of Organization with this office and has fulfilled the applicable requirements set
forth in law. By virtue of the authority vested in this office, I hereby issue this certificate
evidencing the filing is effective on the date shown below.

Certified FUe Number: C 1126665 - 12853976
Effecdve Date: July 25, 2019

Your company's annual report is due by April 15th of next year and each consecutive year
thereafter.

Thank you for being a valued member of the Montana business community. I wish you continued
success in your endeavors.




<_':.
Corey Stapleton
Montana Secretary of State




                 Montana State Capitol. PO Box 202801 . Helena, Montana 59620-2801
             tel: 9:23-ap-09001-BPH        Doc#: 35-9 Filed: 11/15/23 Page 3 of 3
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